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UNITED STATES DISTRICT COU/R@/#/:"' }:"|§|_`§Djr §§
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THE WESTERN DISTRICT OF NEW\ (QS

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Benjamin j. Bolton, )
Plaintiff, ) CIVIL RIGHTS COMPLAINT
) (42 U. S. C. §198 \/
) Civil No.: I?/C VMV 6
v. )
)
Rochester Police Department, )
Defendant/Respondent. )
JURISDICTION

1.) Jurisdiction is proper in this court according to 42 U.S.C. §1983 because the Defendant is a state

agency With state employees and violated civil/constitutional rights of the Plaintiff`.

2.) The Plaintiff resides in New York State in the Western District and the violations occurred in this

jurisdiction

3.) Benjamin J. Bolton is the Plaintiff and resides in New York State and currently lives at the

following address:

176 North Water Street,
Rochester, New York 14604

4.) The Defendant, Rochester Police Department, is a law enforcement agency in the Western District

 

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of New York.

5.)

EABLRE_(MAS_E

On, or about, July 14"‘, 2018 at approximately 4:30PM Eastern Stande Time, the Defendant
arrived at the Plaintifi"s residence to perform a suggested welfare check. The Plaintiff Was not
home at the time and learned of the peculiar activities by another resident in his apartment complex.
Moreover, the Plaintiff contacted the Rochester Police Department to learn about the
aforementioned suggested Welfare check on the same above-mentioned date. Plaintiff was told that
the welfare check Was a misunderstanding by the law enforcement agency and that the police officer
Who was dispatched to the scene had arrived at the wrong location and was looking for a female
with a similar address. The Plaintiff has had no previous contact With the Rochester Police
Department and was not enduring any hardships that required assistance Bom the named

law enforcement agency (Rochester Police Department). The civil rights violations arise because
the suggested welfare check Was performed to harass the Plaintiff because of his additional current
civil complaints against the F ederal Bureau of Investigation, multiple law enforcement agencies in
Erie County, New York, Special Agent Brent Isaacson for the F ederal Bureau of Investigation, and
multiple other parties. More specifically, the Plaintiff’s Fourteenth Amendment rights were
violated by the Rochester Police Department and other defendants named in previous civil
complaints to the Court because of their disliking of challenges to criminal convictions and civil
lawsuits that have been generated by the Plaintiff. Equal protection and access to the law is an
entitlement that all individuals have in the United States. Withal, the unprofessionalism and
immature behaviors by the Rochester Police Department - as Well as other persons and

organizations named in this complaint and previous complaints to the Court - serve as an

 

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illustration of the routine annoyances that the Plaintiff has had to deal With. Bogus claims

of welfare checks in order to annoy the Plaintiff is a violation of the Fourteenth Amendment and
constitutes intervention by this Court. Additionally, conjuring up false excuses to initiate contact
with the Plaintiff also harms the public in respect to the idea that other important areas in society
are not being dealt with because of the inappropriate behaviors by the Defendant and others
named in this complaint and previous complaints to the Court. Essentially, the aforementioned
specific violation of the Fourteenth Amendment by the Defendant transitions into general

constitutional violations because of the lack of concern for honest services for the public.

CAUSE OF ACTION

6.) I allege that my constitutional rights, privileges or immunities have been violated and that the

following facts form the basis for my allegations:
a.) (l.) Count l: Rochester Police Department Violated Petitioner’s Civil Rights
(2.) Supporting Facts:

On, or about, July l4“’, 2018 at approximately 4:30PM Eastern Standard Time
the Defendant made an unnecessary arrival at the Plaintist residence to
to annoy and cause harm to the Defendant because of correspondence with
other law enforcers Who have been named in civil complaints to the Court and
because of the general disdain towards the Plaintist critical Writings about the
criminal justice system. These actions are in violation of the Fourteenth

Amendment in the United States Bill of Rights.

INJURY

 

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6.) The Plaintiff has dealt With serious emotional and legal distresses because of the unlawful actions
by the Defendant Moreover, the Petitioner’s constitutional rights have been violated by the Defendant

through actions that have deprived the Petitioner of civil/constitutional rights that are guaranteed in the

United States of America.

PREVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF

7 .) The Plaintiff has ongoing civil complaints that have yet to retain court hearings There have

been no administrative relief granted by any court of law or regulatory agency.
REOUEST FOR RELIEF
8.) The Petitioner believes that he is entitled to the following relief:

Punitive and compensatory damages in the amount of $100,000 dollars in United States currency or

any item or property of value that is equal to or more than the above-mentioned amount.
DECLARATION UNDER PENALTY OF PERJURY
The undersigned declares under penalty of perjury that he/she is the plaintiff in the above
action, that he/she has read the above complaint, and that the information contained therein is true

and correct. 28 U.S.C. §1746; 18 U.S.C §1621.

Executed at the United States District Court for the Western District of New York on July 16, 2018.

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JS 44 (Re\'. 12/12)

CIVIL COVER SHEET

The .lS 44 civil cover sheet and the information contained herein neither replace nor supplement the

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filing and service ol`pleadings or other papers as required b_v law except as

provided h_v local rules ot`court, 'l`his i`orm. approved by the Judicla| (`ont`erencc ol`the United States in .\`eptember 1974` is required t`or the use ot` the Clerk ot`Court for the

purpose of initiating the civil docket sheet (SEE INSTR( '(`TIONS 01\'A’E\'TPAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS DEFENDANTS
lQ>t°~/\`Jaw:a \Q)uliw\

(b) Count_v ot`Residence ofFirst Listed Plaintiff / / /) //€,
(E.l'C`EPT IN l`..\`. PL-l[]\'TIFI" ('.4SES)
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County of Residence ot`First Listed Defendant 111 a q r '¢ 1

(IN l’..\`. PLAINTIFF (`ASES ONLY)

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II. BASIS OF JURISDICTION (I’/ac’eu)i "X"111())1¢'/£1).¥()111\') III. CITIZENSHIP OF PRINCIPAL PARTIES (}’/ur'eun “X" in()ne Br)x_/i)r]’/nnm,f,r
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Plaintiff (U.S. Go\'el‘nmenl Not a Pa/'{\') Ci\izen ofThis State 9/1 9/1 Incorporated or Principal l’lace 9 4 9/4/
ofBusiness ln This State
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Defendant ([ndicale ('ili:en.s/rl;v Q/'Pm'n`es in I!em 111) ot`Business ln Another State
(`itizen or Sulljeci ot`a 9 3 9 3 Foreign Nation 9 6 9 6
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9 160 Stockholders` Suits 9 355 Motor \/'ehicle 9 371 Tmth in Lending 9 720 l_abor/l\tanagement 9 863 D1W(`/D1WW(405(g)) 9 890 Othel’Statutoly Actions
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9 240 Torts to Land 9 443 l'lousing' Sentence
9 245 Tort Product Liability Accommodations 9 530 General
9 290 All Other Real Property 9 445 Amer. w/Disabilities ~ 9 535 Death Penalty IM'M'IGRATION
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or Defendantl

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Act/'Review or Appeal of
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State Statutes

 

V. ORIGIN (]’/at'e an ".\" 111 ()/1c Br),\' ())1/_\9

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Proceedlng State Court Appellate Court Reopened Another District Litigation
(SP€C!'U`)

 

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VII. REQUESTED IN

Cite the U S. Ci\'i| Statute under which you are filing (Do nm circjurisdicrimmlnames unless diversiry):

var'a;rs/r€§

CHECK YES only it`demanded in complaint

 

 

 

 

 

 

COMPLAINT: UNDER RULE 23~ F-R Cv¢P- 1>/£1//‘ wm JURY DEMAND; n Yes n No
VIII. RELATED CASE(S) k _

IF ANY (S“’ "m"mm)` .rUDGE `DOCKET NUMBER _
DATE SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY

AI’PLYlNG IFP

RE(`EIPT it AMOUNT JUDGE

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